                                                                                        5HY


                           /2&$/%$1.5837&<)250

                    ,17+(81,7('67$7(6%$1.5837&<&2857
                  )257+(0,''/(',675,&72)3(116</9$1,$

 ,15( Anna M. Yocum                               &+$37(5

                                                      &$6(12 CL 1:22-bk-657

                                                     ✔
                                                     BBB25,*,1$/3/$1
                                                     BBB$0(1'('3/$1 ,QGLFDWHVWQGUGHWF 

                                                      0
                                                     BBB1XPEHURI0RWLRQVWR$YRLG/LHQV
                                                     BBB1XPEHURI0RWLRQVWR9DOXH&ROODWHUDO
                                                      0


                                     &+$37(53/$1

                                            127,&(6
'HEWRUVPXVWFKHFNRQHER[RQHDFKOLQHWRVWDWHZKHWKHURUQRWWKHSODQLQFOXGHVHDFKRIWKH
IROORZLQJLWHPV,IDQLWHPLVFKHFNHGDV³1RW,QFOXGHG´RULIERWKER[HVDUHFKHFNHGRULI
QHLWKHUER[LVFKHFNHGWKHSURYLVLRQZLOOEHLQHIIHFWLYHLIVHWRXWODWHULQWKHSODQ

  7KHSODQFRQWDLQVQRQVWDQGDUGSURYLVLRQVVHWRXWLQ             ,QFOXGHG         1RW
    ZKLFKDUHQRWLQFOXGHGLQWKHVWDQGDUGSODQDVDSSURYHGE\WKH                          ,QFOXGHG
    86%DQNUXSWF\&RXUWIRUWKH0LGGOH'LVWULFWRI
    3HQQV\OYDQLD
  7KHSODQFRQWDLQVDOLPLWRQWKHDPRXQWRIDVHFXUHGFODLPVHW       ,QFOXGHG         1RW
    RXWLQ(ZKLFKPD\UHVXOWLQDSDUWLDOSD\PHQWRUQR                               ,QFOXGHG
    SD\PHQWDWDOOWRWKHVHFXUHGFUHGLWRU
  7KHSODQDYRLGVDMXGLFLDOOLHQRUQRQSRVVHVVRU\QRQSXUFKDVH         ,QFOXGHG         1RW
    PRQH\VHFXULW\LQWHUHVWVHWRXWLQ*                                               ,QFOXGHG

                            <2855,*+76:,//%($))(&7('
5($'7+,63/$1&$5()8//<,I\RXRSSRVHDQ\SURYLVLRQRIWKLVSODQ\RXPXVWILOHD
WLPHO\ZULWWHQREMHFWLRQ7KLVSODQPD\EHFRQILUPHGDQGEHFRPHELQGLQJRQ\RXZLWKRXWIXUWKHU
QRWLFHRUKHDULQJXQOHVVDZULWWHQREMHFWLRQLVILOHGEHIRUHWKHGHDGOLQHVWDWHGRQWKH1RWLFH
LVVXHGLQFRQQHFWLRQZLWKWKHILOLQJRIWKHSODQ




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                                                                                    5HY


 3/$1)81',1*$1'/(1*7+2)3/$1

  $ 3ODQ3D\PHQWV)URP)XWXUH,QFRPH

                                          0
             7RGDWHWKH'HEWRUSDLGBBBBBBBBBBBB     HQWHULIQRSD\PHQWVKDYHEHHQ
               PDGHWRWKH7UXVWHHWRGDWH 'HEWRUVKDOOSD\WRWKH7UXVWHHIRUWKHUHPDLQLQJ
               WHUPRIWKHSODQWKHIROORZLQJSD\PHQWV,IDSSOLFDEOHLQDGGLWLRQWRPRQWKO\
               SODQSD\PHQWV'HEWRUVKDOOPDNHFRQGXLWSD\PHQWVWKURXJKWKH7UXVWHHDVVHW
                                                    33,600.00
               IRUWKEHORZ7KHWRWDOEDVHSODQLVBBBBBBBBBBBBBBBSOXVRWKHUSD\PHQWVDQG
               SURSHUW\VWDWHGLQ%EHORZ

   6WDUW           (QG             3ODQ           (VWLPDWHG      7RWDO           7RWDO
  PP\\\\         PP\\\\        3D\PHQW           &RQGXLW      0RQWKO\        3D\PHQW
                                                     3D\PHQW       3D\PHQW        2YHU3ODQ
                                                                                      7LHU
   5/2022           4/2027          560.00                                          33,600.00




                                                                         7RWDO     33,600.00
                                                                     3D\PHQWV

             ,IWKHSODQSURYLGHVIRUFRQGXLWPRUWJDJHSD\PHQWVDQGWKHPRUWJDJHHQRWLILHV
               WKH7UXVWHHWKDWDGLIIHUHQWSD\PHQWLVGXHWKH7UXVWHHVKDOOQRWLI\WKH'HEWRU
               DQGDQ\DWWRUQH\IRUWKH'HEWRULQZULWLQJWRDGMXVWWKHFRQGXLWSD\PHQWVDQG
               WKHSODQIXQGLQJ'HEWRUPXVWSD\DOOSRVWSHWLWLRQPRUWJDJHSD\PHQWVWKDW
               FRPHGXHEHIRUHWKHLQLWLDWLRQRIFRQGXLWPRUWJDJHSD\PHQWV

             'HEWRUVKDOOHQVXUHWKDWDQ\ZDJHDWWDFKPHQWVDUHDGMXVWHGZKHQQHFHVVDU\WR
               FRQIRUPWRWKHWHUPVRIWKHSODQ

             &+(&.21( ✔ 'HEWRULVDWRUXQGHUPHGLDQLQFRPH,IWKLVOLQHLV
               FKHFNHGWKHUHVWRI$QHHGQRWEHFRPSOHWHGRUUHSURGXFHG

                                  'HEWRULVRYHUPHGLDQLQFRPH'HEWRUHVWLPDWHVWKDWD
                                PLQLPXPRIBBBBBBBBBBBBBBBPXVWEHSDLGWRDOORZHG
                                XQVHFXUHGFUHGLWRUVLQRUGHUWRFRPSO\ZLWKWKH0HDQV7HVW




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                                                                                       5HY


  % $GGLWLRQDO3ODQ)XQGLQJ)URP/LTXLGDWLRQRI$VVHWV2WKHU

                  7KH'HEWRUHVWLPDWHVWKDWWKHOLTXLGDWLRQYDOXHRIWKLVHVWDWHLV
                      162,858.00
                    BBBBBBBBBBBB   /LTXLGDWLRQYDOXHLVFDOFXODWHGDVWKHYDOXHRIDOOQRQ
                    H[HPSWDVVHWVDIWHUWKHGHGXFWLRQRIYDOLGOLHQVDQGHQFXPEUDQFHVDQG
                    EHIRUHWKHGHGXFWLRQRI7UXVWHHIHHVDQGSULRULW\FODLPV 

      Check one of the following two lines.

       ✔
      BBB      1RDVVHWVZLOOEHOLTXLGDWHGIf this line is checked, VNLS%DQGFRPSOHWH%
               LIDSSOLFDEOH

      BBB     &HUWDLQDVVHWVZLOOEHOLTXLGDWHGDVIROORZV

                  ,QDGGLWLRQWRWKHDERYHVSHFLILHGSODQSD\PHQWV'HEWRUVKDOOGHGLFDWHWR
                    WKHSODQSURFHHGVLQWKHHVWLPDWHGDPRXQWRIBBBBBBBBBBBBB IURPWKHVDOH
                    RISURSHUW\NQRZQDQGGHVLJQDWHGDV BBBBBBBBBBBBBBBBBBB
                    BBBBBBBBBBBBBBBBBBBBBBBBBBBB $OOVDOHVVKDOOEHFRPSOHWHGE\
                    BBBBBBBBBBBBBBBBBBB BBB ,IWKHSURSHUW\GRHVQRWVHOOE\WKHGDWH
                    VSHFLILHGWKHQWKHGLVSRVLWLRQRIWKHSURSHUW\VKDOOEHDVIROORZV
                     BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB

                  2WKHUSD\PHQWVIURPDQ\VRXUFH V  GHVFULEHVSHFLILFDOO\ VKDOOEHSDLGWR
                    WKH7UXVWHHDVIROORZV




 6(&85('&/$,06

  $ 3UH&RQILUPDWLRQ'LVWULEXWLRQVCheck one.

    ✔
   BBB     1RQHIf “None” is checked, the rest of § 2.A need not be completed or reproduced.

  BBB    $GHTXDWHSURWHFWLRQDQGFRQGXLWSD\PHQWVLQWKHIROORZLQJDPRXQWVZLOOEHSDLGE\
          WKH'HEWRUWRWKH7UXVWHH7KH7UXVWHHZLOOGLVEXUVHWKHVHSD\PHQWVIRUZKLFKDSURRI
          RIFODLPKDVEHHQILOHGDVVRRQDVSUDFWLFDEOHDIWHUUHFHLSWRIVDLGSD\PHQWVIURPWKH
          'HEWRU




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                                                                                       5HY


                   1DPHRI&UHGLWRU                           /DVW)RXU'LJLWV       (VWLPDWHG
                                                                 RI$FFRXQW           0RQWKO\
                                                                   1XPEHU             3D\PHQW




         7KH7UXVWHHZLOOQRWPDNHDSDUWLDOSD\PHQW,IWKH'HEWRUPDNHVDSDUWLDOSODQ
           SD\PHQWRULILWLVQRWSDLGRQWLPHDQGWKH7UXVWHHLVXQDEOHWRSD\WLPHO\DSD\PHQW
           GXHRQDFODLPLQWKLVVHFWLRQWKH'HEWRU¶VFXUHRIWKLVGHIDXOWPXVWLQFOXGHDQ\
           DSSOLFDEOHODWHFKDUJHV

         ,IDPRUWJDJHHILOHVDQRWLFHSXUVXDQWWR)HG5%DQNU3 E WKHFKDQJHLQ
           WKHFRQGXLWSD\PHQWWRWKH7UXVWHHZLOOQRWUHTXLUHPRGLILFDWLRQRIWKLVSODQ

    % 0RUWJDJHV ,QFOXGLQJ&ODLPV6HFXUHGE\'HEWRU¶V3ULQFLSDO5HVLGHQFH DQG2WKHU
       'LUHFW3D\PHQWVE\'HEWRUCheck one.

     BBB   1RQHIf “None” is checked, the rest of § 2.B need not be completed or reproduced.

     ✔
    BBB   3D\PHQWVZLOOEHPDGHE\WKH'HEWRUGLUHFWO\WRWKHFUHGLWRUDFFRUGLQJWRWKHRULJLQDO
           FRQWUDFWWHUPVDQGZLWKRXWPRGLILFDWLRQRIWKRVHWHUPVXQOHVVRWKHUZLVHDJUHHGWRE\
           WKHFRQWUDFWLQJSDUWLHV$OOOLHQVVXUYLYHWKHSODQLIQRWDYRLGHGRUSDLGLQIXOOXQGHU
           WKHSODQ

     1DPHRI&UHGLWRU                    'HVFULSWLRQRI&ROODWHUDO               /DVW)RXU'LJLWV
                                                                                     RI$FFRXQW
                                                                                       1XPEHU
M&T Bank                         Debtor's residence                                     2928




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                                                                                       5HY



    & $UUHDUV ,QFOXGLQJEXWQRWOLPLWHGWRFODLPVVHFXUHGE\'HEWRU¶VSULQFLSDO
       UHVLGHQFH Check one.

     BBB    1RQHIf “None” is checked, the rest of § 2.C need not be completed or reproduced.

      ✔
     BBB    7KH7UXVWHHVKDOOGLVWULEXWHWRHDFKFUHGLWRUVHWIRUWKEHORZWKHDPRXQWRIDUUHDUDJHV
            LQWKHDOORZHGFODLP,ISRVWSHWLWLRQDUUHDUVDUHQRWLWHPL]HGLQDQDOORZHGFODLP
            WKH\VKDOOEHSDLGLQWKHDPRXQWVWDWHGEHORZ8QOHVVRWKHUZLVHRUGHUHGLIUHOLHI
            IURPWKHDXWRPDWLFVWD\LVJUDQWHGDVWRDQ\FROODWHUDOOLVWHGLQWKLVVHFWLRQDOO
            SD\PHQWVWRWKHFUHGLWRUDVWRWKDWFROODWHUDOVKDOOFHDVHDQGWKHFODLPZLOOQR
            ORQJHUEHSURYLGHGIRUXQGHU E  RIWKH%DQNUXSWF\&RGH

   1DPHRI&UHGLWRU             'HVFULSWLRQRI         (VWLPDWHG (VWLPDWHG      (VWLPDWHG
                                  &ROODWHUDO           3UHSHWLWLRQ 3RVWSHWLWLRQ 7RWDO WR EH
                                                         $UUHDUVWR $UUHDUVWR SDLGLQSODQ
                                                         EH&XUHG     EH&XUHG

M&T Bank                   Debtor's residence          16,000.00       .00            16,000.00




    ' 2WKHUVHFXUHGFODLPV FRQGXLWSD\PHQWVDQGFODLPVIRUZKLFKDYDOXDWLRQLV
       QRWDSSOLFDEOHHWF

      ✔
     BBB    1RQHIf “None” is checked, the rest of § 2.D need not be completed or reproduced.

     BBB   7KHFODLPVEHORZDUHVHFXUHGFODLPVIRUZKLFKDYDOXDWLRQLVQRWDSSOLFDEOH
            DQGFDQLQFOXGH  FODLPVWKDWZHUHHLWKHU D LQFXUUHGZLWKLQGD\VRIWKH
            SHWLWLRQGDWHDQGVHFXUHGE\DSXUFKDVHPRQH\VHFXULW\LQWHUHVWLQDPRWRUYHKLFOH
            DFTXLUHGIRUWKHSHUVRQDOXVHRIWKH'HEWRURU E LQFXUUHGZLWKLQ\HDURIWKH
            SHWLWLRQGDWHDQGVHFXUHGE\DSXUFKDVHPRQH\VHFXULW\LQWHUHVWLQDQ\RWKHUWKLQJRI
            YDOXH  FRQGXLWSD\PHQWVRU  VHFXUHGFODLPVQRWSURYLGHGIRUHOVHZKHUH




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           7KHDOORZHGVHFXUHGFODLPVOLVWHGEHORZVKDOOEHSDLGLQIXOODQGWKHLUOLHQV
             UHWDLQHGXQWLOWKHHDUOLHURIWKHSD\PHQWRIWKHXQGHUO\LQJGHEWGHWHUPLQHGXQGHU
             QRQEDQNUXSWF\ODZRUGLVFKDUJHXQGHURIWKH&RGH

           ,QDGGLWLRQWRSD\PHQWRIWKHDOORZHGVHFXUHGFODLPSUHVHQWYDOXHLQWHUHVW
             SXUVXDQWWR86& D  % LL ZLOOEHSDLGDWWKHUDWHDQGLQWKHDPRXQW
             OLVWHGEHORZXQOHVVDQREMHFWLRQLVUDLVHG,IDQREMHFWLRQLVUDLVHGWKHQWKHFRXUW
             ZLOOGHWHUPLQHWKHSUHVHQWYDOXHLQWHUHVWUDWHDQGDPRXQWDWWKHFRQILUPDWLRQ
             KHDULQJ

           8QOHVVRWKHUZLVHRUGHUHGLIWKHFODLPDQWQRWLILHVWKH7UXVWHHWKDWWKHFODLPZDV
             SDLGSD\PHQWVRQWKHFODLPVKDOOFHDVH

  1DPHRI&UHGLWRU         'HVFULSWLRQRI&ROODWHUDO      3ULQFLSDO      ,QWHUHVW 7RWDOWREH
                                                            %DODQFHRI       5DWH   3DLGLQ3ODQ
                                                              &ODLP




   ( 6HFXUHGFODLPVIRUZKLFKDYDOXDWLRQLVDSSOLFDEOH&KHFNRQH

    ✔
   BBB   1RQH,I³1RQH´LVFKHFNHGWKHUHVWRI(QHHGQRWEHFRPSOHWHGRUUHSURGXFHG
   BBB&ODLPVOLVWHGLQWKHVXEVHFWLRQDUHGHEWVVHFXUHGE\SURSHUW\QRWGHVFULEHGLQ'RI
            WKLVSODQ7KHVHFODLPVZLOOEHSDLGLQWKHSODQDFFRUGLQJWRPRGLILHGWHUPVDQGOLHQV
            UHWDLQHGXQWLOWKHHDUOLHURIWKHSD\PHQWRIWKHXQGHUO\LQJGHEWGHWHUPLQHGXQGHU
            QRQEDQNUXSWF\ODZRUGLVFKDUJHXQGHURIWKH&RGH7KHH[FHVVRIWKH
            FUHGLWRU¶VFODLPZLOOEHWUHDWHGDVDQXQVHFXUHGFODLP$Q\FODLPOLVWHGDV³´RU
            ³129$/8(´LQWKH³0RGLILHG3ULQFLSDO%DODQFH´FROXPQEHORZZLOOEHWUHDWHGDV
            DQXQVHFXUHGFODLP7KHOLHQVZLOOEHDYRLGHGRUOLPLWHGWKURXJKWKHSODQRU'HEWRU
            ZLOOILOHDQDGYHUVDU\RURWKHUDFWLRQ VHOHFWPHWKRGLQODVWFROXPQ 7RWKHH[WHQWQRW
            DOUHDG\GHWHUPLQHGWKHDPRXQWH[WHQWRUYDOLGLW\RIWKHDOORZHGVHFXUHGFODLPIRU
            HDFKFODLPOLVWHGEHORZZLOOEHGHWHUPLQHGE\WKHFRXUWDWWKHFRQILUPDWLRQKHDULQJ
            8QOHVVRWKHUZLVHRUGHUHGLIWKHFODLPDQWQRWLILHVWKH7UXVWHHWKDWWKHFODLPZDVSDLG
            SD\PHQWVRQWKHFODLPVKDOOFHDVH




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                                                                                    5HY


1DPHRI&UHGLWRU          'HVFULSWLRQRI       9DOXHRI ,QWHUHVW 7RWDO             3ODQ
                            &ROODWHUDO         &ROODWHUDO  5DWH 3D\PHQW          $GYHUVDU\
                                                 0RGLILHG                            RU2WKHU
                                                3ULQFLSDO                            $FWLRQ




  ) 6XUUHQGHURI&ROODWHUDO&KHFNRQH

    ✔
   BBB   1RQH,I³1RQH´LVFKHFNHGWKHUHVWRI)QHHGQRWEHFRPSOHWHGRUUHSURGXFHG

   BBB 7KH'HEWRUHOHFWVWRVXUUHQGHUWRHDFKFUHGLWRUOLVWHGEHORZWKHFROODWHUDOWKDWVHFXUHV
         WKHFUHGLWRU¶VFODLP7KH'HEWRUUHTXHVWVWKDWXSRQFRQILUPDWLRQRIWKLVSODQRUXSRQ
         DSSURYDORIDQ\PRGLILHGSODQWKHVWD\XQGHU86& D EHWHUPLQDWHGDVWR
         WKHFROODWHUDORQO\DQGWKDWWKHVWD\XQGHUEHWHUPLQDWHGLQDOOUHVSHFWV$Q\
         DOORZHGXQVHFXUHGFODLPUHVXOWLQJIURPWKHGLVSRVLWLRQRIWKHFROODWHUDOZLOOEHWUHDWHG
         LQ3DUWEHORZ

       1DPHRI&UHGLWRU                     'HVFULSWLRQRI&ROODWHUDOWREH6XUUHQGHUHG




  * /LHQ$YRLGDQFH'RQRWXVHIRUPRUWJDJHVRUIRUVWDWXWRU\OLHQVVXFKDVWD[OLHQV&KHFN
     RQH

    ✔
   BBB   1RQH,I³1RQH´LVFKHFNHGWKHUHVWRI*QHHGQRWEHFRPSOHWHGRUUHSURGXFHG




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                                                                                              5HY


     BBB 7KH'HEWRUPRYHVWRDYRLGWKHIROORZLQJMXGLFLDODQGRUQRQSRVVHVVRU\QRQSXUFKDVH
           PRQH\OLHQVRIWKHIROORZLQJFUHGLWRUVSXUVXDQWWR I  WKLVVKRXOGQRWEHXVHG
           IRUVWDWXWRU\RUFRQVHQVXDOOLHQVVXFKDVPRUWJDJHV 

 1DPHRI/LHQ+ROGHU


 /LHQ'HVFULSWLRQ
 )RUMXGLFLDOOLHQLQFOXGHFRXUW
 DQGGRFNHWQXPEHU
 'HVFULSWLRQRIWKH
 OLHQHGSURSHUW\
 /LHQHG$VVHW9DOXH
 6XPRI6HQLRU/LHQV
 ([HPSWLRQ&ODLPHG
 $PRXQWRI/LHQ
 $PRXQW$YRLGHG


 35,25,7<&/$,06

    $ $GPLQLVWUDWLYH&ODLPV

           7UXVWHH¶V)HHV3HUFHQWDJHIHHVSD\DEOHWRWKH7UXVWHHZLOOEHSDLGDWWKHUDWHIL[HG
             E\WKH8QLWHG6WDWHV7UXVWHH

           $WWRUQH\¶VIHHV&RPSOHWHRQO\RQHRIWKHIROORZLQJRSWLRQV

                 D ,QDGGLWLRQWRWKHUHWDLQHURIBBBBBBBBBBBBBDOUHDG\SDLGE\WKH'HEWRUWKH
                                                    1,600.00
                                 1,500.00
                    DPRXQWRIBBBBBBBBBBBBBLQWKHSODQ7KLVUHSUHVHQWVWKHXQSDLGEDODQFHRIWKH
                    SUHVXPSWLYHO\UHDVRQDEOHIHHVSHFLILHGLQ/%5 F RU

                 E BBBBBBBBBBBBBSHUKRXUZLWKWKHKRXUO\UDWHWREHDGMXVWHGLQDFFRUGDQFHZLWK
                    WKHWHUPVRIWKHZULWWHQIHHDJUHHPHQWEHWZHHQWKH'HEWRUDQGWKHDWWRUQH\
                    3D\PHQWRIVXFKORGHVWDUFRPSHQVDWLRQVKDOOUHTXLUHDVHSDUDWHIHHDSSOLFDWLRQ
                    ZLWKWKHFRPSHQVDWLRQDSSURYHGE\WKH&RXUWSXUVXDQWWR/%5 E 

           2WKHU2WKHUDGPLQLVWUDWLYHFODLPVQRWLQFOXGHGLQ$RU$DERYH&KHFN
                     RQHRIWKHIROORZLQJWZROLQHV

                  ✔
                 BBB       1RQH,I³1RQH´LVFKHFNHGWKHUHVWRI$QHHGQRWEHFRPSOHWHGRU
                             UHSURGXFHG

                 BBB        7KHIROORZLQJDGPLQLVWUDWLYHFODLPVZLOOEHSDLGLQIXOO

                                                           


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                                                                                    5HY




              1DPHRI&UHGLWRU                             (VWLPDWHG7RWDO3D\PHQW




   % 3ULRULW\&ODLPV LQFOXGLQJFHUWDLQ'RPHVWLF6XSSRUW2EOLJDWLRQV

      $OORZHGXQVHFXUHGFODLPVHQWLWOHGWRSULRULW\XQGHU D ZLOOEHSDLGLQIXOO
      XQOHVVPRGLILHGXQGHU


              1DPHRI&UHGLWRU                             (VWLPDWHG7RWDO3D\PHQW




  & 'RPHVWLF6XSSRUW2EOLJDWLRQVDVVLJQHGWRRURZHGWRDJRYHUQPHQWDOXQLWXQGHU
     86& D  % &KHFNRQHRIWKHIROORZLQJWZROLQHV.

       ✔
      BBB   1RQH,I³1RQH´LVFKHFNHGWKHUHVWRI&QHHGQRWEHFRPSOHWHGRU
              UHSURGXFHG

      BBB    7KHDOORZHGSULRULW\FODLPVOLVWHGEHORZDUHEDVHGRQDGRPHVWLFVXSSRUW
              REOLJDWLRQWKDWKDVEHHQDVVLJQHGWRRULVRZHGWRDJRYHUQPHQWDOXQLWDQGZLOOEH
              SDLGOHVVWKDQWKHIXOODPRXQWRIWKHFODLP7KLVSODQSURYLVLRQUHTXLUHVWKDW
              SD\PHQWVLQ$EHIRUDWHUPRIPRQWKV VHH86& D  

              1DPHRI&UHGLWRU                             (VWLPDWHG7RWDO3D\PHQW




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                                                                                        5HY

 816(&85('&/$,06

   $ &ODLPVRI8QVHFXUHG1RQSULRULW\&UHGLWRUV6SHFLDOO\&ODVVLILHGCheck one of the
      following two lines.

      ✔
      BBB      1RQHIf “None” is checked, the rest of § 4.A need not be completed or
               reproduced.

      ___      7RWKHH[WHQWWKDWIXQGVDUHDYDLODEOHWKHDOORZHGDPRXQWRIWKHIROORZLQJ
               XQVHFXUHGFODLPVVXFKDVFRVLJQHGXQVHFXUHGGHEWVZLOOEHSDLGEHIRUHRWKHU
               XQFODVVLILHGXQVHFXUHGFODLPV7KHFODLPVKDOOEHSDLGLQWHUHVWDWWKHUDWHVWDWHG
               EHORZ,IQRUDWHLVVWDWHGWKHLQWHUHVWUDWHVHWIRUWKLQWKHSURRIRIFODLPVKDOO
               DSSO\

 1DPHRI&UHGLWRU              5HDVRQIRU6SHFLDO          (VWLPDWHG     ,QWHUHVW     (VWLPDWHG
                                  &ODVVLILFDWLRQ            $PRXQWRI       5DWH         7RWDO
                                                              &ODLP                      3D\PHQW




   % 5HPDLQLQJDOORZHGXQVHFXUHGFODLPVZLOOUHFHLYHDSURUDWDGLVWULEXWLRQRIIXQGV
      UHPDLQLQJDIWHUSD\PHQWRIRWKHUFODVVHV

 (;(&8725<&2175$&76$1'81(;3,5('/($6(6Check one of the following
   two lines.

   ✔
   BBB     1RQHIf “None” is checked, the rest of § 5 need not be completed or reproduced.

  ___    7KHIROORZLQJFRQWUDFWVDQGOHDVHVDUHDVVXPHG DQGDUUHDUVLQWKHDOORZHGFODLPWR
          EHFXUHGLQWKHSODQ RUUHMHFWHG

1DPHRI2WKHU         'HVFULSWLRQRI    0RQWKO\ ,QWHUHVW (VWLPDWHG           7RWDO   $VVXPH
   3DUW\               &RQWUDFWRU      3D\PHQW    5DWH   $UUHDUV            3ODQ  RU5HMHFW
                           /HDVH                                              3D\PHQW




                                                 


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                                                                                            5HY



 9(67,1*2)3523(57<2)7+((67$7(

    3URSHUW\RIWKHHVWDWHZLOOYHVWLQWKH'HEWRUXSRQ

    Check the applicable line:

     ✔ SODQ FRQILUPDWLRQ
    BBB
    BBBHQWU\RIGLVFKDUJH
    BBBFORVLQJRIFDVH


 ',6&+$5*( &KHFNRQH

     
      ✔  7KHGHEWRUZLOOVHHNDGLVFKDUJHSXUVXDQWWR D 
       7KHGHEWRULVQRWHOLJLEOHIRUDGLVFKDUJHEHFDXVHWKHGHEWRUKDVSUHYLRXVO\UHFHLYHGD
          GLVFKDUJHGHVFULEHGLQ I 

 25'(52)',675,%87,21

,IDSUHSHWLWLRQFUHGLWRUILOHVDVHFXUHGSULRULW\RUVSHFLDOO\FODVVLILHGFODLPDIWHUWKHEDUGDWH
WKH7UXVWHHZLOOWUHDWWKHFODLPDVDOORZHGVXEMHFWWRREMHFWLRQE\WKH'HEWRU




3D\PHQWVIURPWKHSODQZLOOEHPDGHE\WKH7UXVWHHLQWKHIROORZLQJRUGHU
/HYHOBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
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,IWKHDERYH/HYHOVDUHILOOHGLQWKHUHVWRIQHHGQRWEHFRPSOHWHGRUUHSURGXFHG,IWKHDERYH
/HYHOVDUHQRWILOOHGLQWKHQWKHRUGHURIGLVWULEXWLRQRISODQSD\PHQWVZLOOEHGHWHUPLQHGE\WKH
7UXVWHHXVLQJWKHIROORZLQJDVDJXLGH

/HYHO$GHTXDWHSURWHFWLRQSD\PHQWV
/HYHO'HEWRU¶VDWWRUQH\¶VIHHV
/HYHO'RPHVWLF6XSSRUW2EOLJDWLRQV
/HYHO3ULRULW\FODLPVSURUDWD
/HYHO6HFXUHGFODLPVSURUDWD
/HYHO6SHFLDOO\FODVVLILHGXQVHFXUHGFODLPV
/HYHO7LPHO\ILOHGJHQHUDOXQVHFXUHGFODLPV
/HYHO8QWLPHO\ILOHGJHQHUDOXQVHFXUHGFODLPVWRZKLFKWKH'HEWRUKDVQRWREMHFWHG


 12167$1'$5'3/$13529,6,216

,QFOXGHWKHDGGLWLRQDOSURYLVLRQVEHORZRURQDQDWWDFKPHQW$Q\QRQVWDQGDUGSURYLVLRQ
SODFHGHOVHZKHUHLQWKHSODQLVYRLG 127(7KHSODQDQGDQ\DWWDFKPHQWPXVWEHILOHGDV
RQHGRFXPHQWQRWDVDSODQDQGH[KLELW 




      4-11-2022
'DWHGBBBBBBBBBBBBBBB                   /s/ Jerry A. Philpott
                                          BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                                          $WWRUQH\IRU'HEWRU



                                          /s/ Anna M. Yocum
                                          BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                                          'HEWRU

                                          BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                                          -RLQW'HEWRU


%\ILOLQJWKLVGRFXPHQWWKHGHEWRULIQRWUHSUHVHQWHGE\DQDWWRUQH\RUWKH$WWRUQH\IRU'HEWRU
DOVRFHUWLILHVWKDWWKLVSODQFRQWDLQVQRQRQVWDQGDUGSURYLVLRQVRWKHUWKDQWKRVHVHWRXWLQ



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